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Brian J. Porter
HALLIDAY, WATKINS & MANN, P.C.
376 East 400 South, Suite 300
Salt Lake City, UT 84111
Telephone: 801-355-2886
Facsimile: 801-328-9714
Email: brian@hwmlawfirm.com
ND Bar Number: 08917
File No.: 56541
Attorney for USAA Federal Savings Bank


                           UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF NORTH DAKOTA (Fargo)


 In re:
                                                   Chapter 7
 RYAN MICHAEL WELCH AND JENNA
 ROBIN WELCH,                                      Case No. 19-30547 SH

                       Debtors.



                               MOTION FOR RELIEF FROM
                            AUTOMATIC STAY (REAL PROPERTY)

          USAA Federal Savings Bank, (“Movant”) hereby moves this Court, pursuant to 11

U.S.C. § 362, for relief from the automatic stay with respect to certain real property of the

Debtors having an address of 15971 470th Ave NW, Oslo, MN 56744 (the “Property”), for all

purposes allowed by the Note (defined below), the Mortgage (defined below), and applicable

law, including but not limited to the right to foreclose. In further support of this Motion, Movant

respectfully states:

    1. A petition under Chapter 7 of the United States Bankruptcy Code was filed with respect

          to the Debtors on September 27, 2019.

    2. The Debtors, Ryan Michael Welch and Jenna Robin Welch, have executed and delivered
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   or are otherwise obligated with respect to that certain promissory note in the original

   principal amount of $226,262.00 (the “Note”). A copy of the Note is attached hereto as

   Exhibit A. Movant is an entity entitled to enforce the Note.

3. Pursuant to that certain Mortgage (the “Mortgage”), all obligations (collectively, the

   “Obligations”) of the Debtors, Ryan Michael Welch and Jenna Robin Welch, under and

   with respect to the Note and the Mortgage are secured by the Property. A copy of the

   Mortgage is attached hereto as Exhibit B.

4. All rights and remedies under the Mortgage have been assigned to the Movant pursuant

   to an assignment of mortgage. A copy of the assignment of mortgage is attached hereto

   as Exhibit C.

5. As of October 2, 2019, the outstanding amount of the Obligations, less any partial

   payments or suspense balance, is $248,082.94. Additionally, the Debtors have indicated

   in their filed Statement of Intention that they wish to surrender the Property.

6. The fair market value of Creditor’s collateral per Schedule A, is $200,000.00. When

   comparing the payoff and the fair market value there is no equity in the Property.

7. Additionally, the Debtors are delinquent on their contractual payments. The following

   chart sets forth the number and amount of payments due pursuant to the terms of the Note

   that have been missed by the Debtors as of October 2, 2019:

    Number
                                                       Monthly
   of Missed                                                         Total Missed
                     From                To            Payment
   Payments                                                           Payments
                                                       Amount
        4         April 1, 2018         July 1, 2018 $1,628.56            $6,514.24
       12       August 1, 2018          July 1, 2019 $1,756.27           $21,075.24
        3       August 1, 2019 October 1, 2019 $1,710.47                  $5,131.41
          Less post-petition partial payments (suspense balance):         ($350.08)
                                                           Total:        $32,370.81
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   8. In addition to the amounts reflected in the chart above, Debtors are obligated to make on-

       going monthly payments, pursuant to the express terms of the Note and Mortgage that

       have or will accrue after October 2, 2019.

   9. Cause exists for relief from the automatic stay for the following reasons:

           a. No realizable equity by the Trustee for the benefit of the creditors.

           b. For cause, including the failure to make contractually obligated payments.

       WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the

stay and granting the following:

   1. Relief from the stay for all purposes allowed by the Note, the Mortgage, and applicable

       law, including but not limited to allowing Movant (and any successors or assigns) to

       proceed under applicable non-bankruptcy law to enforce its remedies to foreclose upon

       and obtain possession of the Property.

   2. That the Order be binding and effective despite any conversion of this bankruptcy case to

       a case under any other chapter of Title 11 of the United States Code.

   3. That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived.

   4. For such other relief as the Court deems proper.


Dated October 15, 2019                           Halliday, Watkins & Mann, P.C.
                                                 376 East 400 South, Suite 300
                                                 Salt Lake City, UT 84111


                                                 /s/ Brian J. Porter
                                                 Brian J. Porter
                                                 Attorney for USAA Federal Savings Bank
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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NORTH DAKOTA

 In re:
                                                    Chapter 7
 RYAN MICHAEL WELCH AND JENNA
 ROBIN WELCH,                                       Case No. 19-30547 SH

                     Debtors.



                          NOTICE OF OPPORTUNITY FOR HEARING

TO:       DEBTORS, THE UNITED STATES TRUSTEE, AND ALL INTERESTED PARTIES:

          YOU ARE HEREBY NOTIFIED that the annexed Motion for Relief from Automatic
Stay has been filed by the firm of HALLIDAY, WATKINS & MANN, P.C., whose address is 376
East 400 South, Suite 300, Salt Lake City, UT 84111, as attorney for USAA Federal Savings
Bank.
          YOU ARE HEREBY FURTHER NOTIFIED that, unless you or another party in interest
files an objection in writing to the relief requested in the Motion, within fourteen (14) days after
mailing of this notice, the relief requested may be granted without further notice or order of the
Court, on or after said date.
          YOU ARE HEREBY FURTHER NOTIFIED that, if an objection in writing to the relief
requested in the Motion is timely filed, any party in interest may obtain a hearing on the Motion
and the objection. An objection must be filed both with, the Clerk of the Bankruptcy Court, U.S.
Courthouse 655 First Avenue North, Suite 201, Fargo, ND 58201, and with the attorney whose
name is shown above.

Dated October 15, 2019                            Halliday, Watkins & Mann, P.C.
                                                  376 East 400 South, Suite 300
                                                  Salt Lake City, UT 84111


                                                  /s/ Brian J. Porter
                                                  Brian J. Porter
                                                  Attorney for USAA Federal Savings Bank
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                                 CERTIFICATE OF SERVICE

       I hereby certify that I caused for a true and correct copy of the foregoing NOTICE OF
OPPORTUNITY FOR HEARING, annexed MOTION FOR RELIEF FROM AUTOMATIC
STAY, by first class mail with postage duly prepaid, on this 15th day of October 2019, to the
following persons:

Ryan Michael Welch and                           Gene W Doeling
Jenna Robin Welch                                Chapter 13 Trustee
2100 S 12th St Apt 209                           VIA ECF
Bismarck, ND 58504
Debtors
VIA U.S. MAIL

Ross H. Espeseth                                 United States Trustee
Debtors’ Attorney                                VIA ECF
VIA ECF


                                                /s/ Brian J. Porter
                                                Brian J. Porter
                                                Attorney for USAA Federal Savings Bank
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                                Exhibit A
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